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                                            April 8, 2022


 Via ECF

 The Honorable Ann M. Donnelly
 United States District Court, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201
 Courtroom 4G

        Re:     Haller v. U.S. Department of Health and Human Services, et al.,
                Case No. 21-cv-7208-AMD-AYS

 Dear Judge Donnelly:

       We represent Plaintiffs in the above-referenced action.           We write in response to
 Defendants’ letter dated April 7, 2022. (Docket No. 27).

         Defendants have indicated their intention to move to dismiss under Rule 12 in addition to
 their response to Plaintiffs’ motion for a preliminary injunction. They request that the Court
 “excuse the pre-motion conference requirement set forth in this Court’s individual practice rules.”
 (Docket No. 27 at p.1). Plaintiffs object to this request. Rule 4.A. of Your Honor’s Individual
 Practices and Rules requires a pre-motion conference for any motion filed pursuant to Rule 12.
 Plaintiffs believe that in a case of this complexity and importance, a pre-motion conference is
 appropriate, and this Rule should be complied with.

         Defendants have also requested that, if the Court decides to hold a pre-motion conference,
 “the Court defer the briefing schedule with respect to the preliminary injunction motion, so as to
 avoid duplicative briefing on the two motions.” (Docket No. 27 at p. 2). Plaintiffs object to this
 request as well. Given the urgent nature of the issues presented on the motion for a preliminary
 injunction—including violations of Plaintiffs’ constitutional rights—Plaintiffs respectfully submit
 that the Court should consider (and grant) the motion for a preliminary injunction without
 unnecessary delay, and without regard to the timing of the briefing and decision on the motion to
 dismiss.

         Defendants’ letter contains a proposed revised briefing schedule. Plaintiffs are prepared to
 stipulate to a mutually agreed-upon schedule. Plaintiffs however believe that a longer schedule is
 necessary in light of the many complicated issues involved, Defendants’ request for expanded page
 limits, and the prospect of amici curiae briefing. Specifically, Plaintiffs propose the following:

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  Defendants’ Opposition to Plaintiffs’ Motion for a Preliminary             April 26, 2022
  Injunction and Defendants’ Motion to Dismiss
  Briefs of amici curiae in Support of Defendants                            April 26, 2022
  Plaintiffs’ Opposition to Defendants’ Motion to Dismiss and Reply          May 24, 2022
  in Further Support of Motion for a Preliminary Injunction
  Briefs of amici curiae in Support of Plaintiffs                            May 24, 2022
  Defendants’ Reply in Further Support of Motion to Dismiss                  May 31, 2022

         Plaintiffs consent to an expanded page limit of 40 pages for each side. Plaintiffs also
 consent to an adjournment of the hearing currently scheduled for May 3, 2022 to a date convenient
 for the Court.

        We thank the Court for its attention to this matter.



                                                               Respectfully submitted,

                                                               /s/ Robert Spolzino

                                                               Robert Spolzino



 cc:    Counsel for Defendants (by ECF)




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